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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION


   BEAUMONT CHAPTER OF THE NAACP and
   JESSICA DAYE,

                           Plaintiffs,                            Civil Action No. 22 Civ. 488

                   v.

   JEFFERSON COUNTY, TEXAS and JEFFERSON
   COUNTY COMMISSIONERS COURT, LAURIE
   LEISTER, in her official capacity as the JEFFERSON
   COUNTY CLERK, and MARY BETH BOWLING, in
   her official capacity as the PRESIDING JUDGE OF
   THE JOHN PAUL DAVIS COMMUNITY CENTER,

                           Defendants.


    COMPLAINT FOR TEMPORARY RESTRAINING ORDER AND EMERGENCY
                DECLARATORY AND INJUNCTIVE RELIEF

        Plaintiffs Beaumont Branch of the NAACP and Jessica Daye, by and through counsel, file

this complaint for declaratory and injunctive relief against Defendants Jefferson County; Jefferson

County Commissioners Court; Laurie Leister, Jefferson County Clerk; and Mary Beth Bowling,

presiding judge of the John Paul Davis Community Center, and allege upon information and belief

as follows:

                                          INTRODUCTION

        1.      All Texas voters have the right to vote free from intimidation. Tex. Elec. Code §

62.0115(b)(2) (“a voter has the right to (2) vote in secret and free from intimidation”). Indeed, this

right is a foundational principle of a democratic society. See, e.g., Reynolds v. Sims, 377 U.S. 533,

562 (1964) (“[T]he right to exercise the franchise in a free and unimpaired manner is preservative

of other basic civil and political rights.”).

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       2.      The John Paul Davis Community Center (the “Community Center”), located at

3580 E. Lucas Drive, Beaumont, TX 77703, is one of the voting locations in Beaumont that serves

a predominantly Black community. It is in the heart of the North End of Beaumont surrounded by

Black churches and other organizations that are strongholds in the community. The Community

Center is a place of gathering for children, churchgoers, and other community members.

       3.       In addition to being a place of gathering, the Community Center is also a voting

location. Many of the local churches, including the Borden Chapel Missionary Baptist Church,

host souls-to-the-polls events and transport voters to the Community Center. About ninety percent

of those who vote at the Community Center are Black, and around 10 percent are White.

       4.      This year, there has been a remarkable shift in the way voting has been conducted

at the Community Center—namely, (i) White poll workers throughout early voting repeatedly

asked in aggressive tones only Black voters and not White voters to recite, out loud within the

earshot of other voters, poll workers, and poll watchers, their addresses, even when the voter was

already checked in by a poll worker, (ii) White poll workers and White poll watchers followed

Black voters and in some cases their Black voter assistants around the polling place, including

standing two feet behind a Black voter and the assistant, while the voter was at the machine casting

a ballot, and (iii) White poll workers helped White voters scan their voted ballots into voting

machines but did not similarly help Black voters scan their ballots.

       5.      Despite these actions being relayed to the Jefferson County clerk, no action was

taken to remove Defendant Bowling, who has been responsible for carrying out these practices

and enabling this type of conduct, from the Community Center.

       6.      Defendant presiding judge Bowling and elections clerks supervised by Defendant

Bowling have actively deprived Black voters, including the Plaintiff Daye and the members of



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Plaintiff Beaumont Branch of the NAACP, of their fundamental right to vote free from

intimidation, harassment, threats, and other forms of coercion. Not only that, Defendant Bowling

and election clerks under her direction have intentionally treated Black voters differently than

White voters.

       7.       This Court must act immediately and declare the aforementioned conduct a

violation of Section 11(b) of the Voting Rights Act (52 U.S.C. § 10101(b)) and the Fourteenth and

Fifteenth Amendments to the United States Constitution, which prohibit treating one group

differently from another on account of race.

       8.       This Court must intervene. Without this Court’s immediate intervention,

Defendants will continue to inflict irreparable injury on potentially hundreds of Black voters who

go to vote at the Community Center on Election Day.

                                             PARTIES

       9.       Plaintiff BEAUMONT BRANCH OF THE NAACP (“Beaumont NAACP”) is a

subsidiary organization of the Texas NAACP. The Beaumont NAACP works to ensure the

political, educational, social, and economic equality of all persons and to eliminate racial hatred

and racial discrimination in Beaumont, including by removing all barriers of racial discrimination

through democratic processes. The Beaumont NAACP was founded approximately fifty years ago.

It continues to play a critical role in furthering the work of civil rights in Southeast Texas today.

       10.      Since its founding, the Beaumont NAACP has used litigation, policy advocacy,

community organizing, and public education to ensure the political equality of all Texans. To

achieve its mission, the Texas NAACP engages in voter education, registration, mobilization, and

other civic engagement activities.

       11.      The Beaumont NAACP is based in Beaumont, Texas in Jefferson County. It has



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more than 600 registered members, including a youth group and its college membership. A large

portion of the Beaumont Branch’s members are registered to vote. The Beaumont NAACP’s

membership is more than 90% Black.

       12.     This election cycle, the Beaumont NAACP has worked tirelessly to register voters

in the Beaumont community. The Beaumont NAACP held several voter registration events,

including a number of “Pews to the Polls” events in conjunction with local churches. The

Beaumont NAACP also released a commercial on the local radio station, 102.5, encouraging

people to get out the vote, and posted reminders and encouragement to vote on its webpage, its

Facebook page, and the like. Many members of the Beaumont NAACP also serve as poll workers,

poll watchers, voter assistants, and campaign workers for different campaigns in Jefferson County.

       13.     The Beaumont NAACP strongly encourages its members to vote at the John Paul

Davis Community Center and the Theodore Johns Branch Library because these polling places are

in their communities. These polling places have also traditionally been safe, peaceful, and

welcoming places for Beaumont NAACP’s members to vote.

       14.     Numerous members of the Beaumont NAACP have been or will be harmed by the

voter intimidation practices at the John Paul Davis Community Center and the Theodore Johns

Branch Library.

       15.     Plaintiff JESSICA DAYE, a resident of Texas, is a registered voter in Jefferson

County. Plaintiff Daye usually votes at the Community Center. She went to vote there on

November 2. When she was in line to vote, she saw an elderly Black voter who was just a few feet

ahead of her in line check in to vote with a Black poll worker who cleared her by verifying the

voter’s information. The elderly Black voter moved down the table to where a White poll worker

stood and aggressively asked the elderly Black voter to show him her identification again and



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recite her address out loud to him. After witnessing this incident, Daye immediately exited the line

and left the Community Center without voting. Daye did not want to be subjected to the treatment

she had witnessed, so she left. She would like to vote at the Community Center because it is close

to where her mother lives and she takes care of her mother on a daily basis. But Daye plans to try

to vote somewhere else on Election Day because she fears that—among other things—the poll

workers at the Community Center will ask her to recite her address out loud in front of everyone.

        16.     Defendant JEFFERSON COUNTY is a governmental entity created under the laws

of the State of Texas. It is liable for the acts and omissions of its officials, acting on behalf of the

County, to conduct elections.

        17.     Defendant JEFFERSON COUNTY COMMISSIONERS COURT is the governing

body of Jefferson County, created under the laws of the State of Texas. Tex. Const. art. V, § 18.

It is liable for the acts and omissions of its officials, acting on behalf of the County, to conduct

elections.

        18.     Defendant MARY BETH BOWLING is the presiding judge at the John Paul Davis

Community Center appointed by the Republican Party. During early voting in Jefferson County,

which took place from October 24 to November 4, Defendant Bowling was appointed a “deputy

early voting clerk.” Tex. Elec. Code § 83.031. The deputy early voting clerk “has the same

authority as the early voting clerk in conducting early voting, subject to the early voting clerk’s

supervision.” Id. In turn, the early voting clerk generally “has the same duties and authority with

respect to early voting as a presiding election judge has with respect to regular voting.” Id. §

83.001. Thus, during early voting, Defendant Bowling generally exercised the powers of a

presiding judge. Absent relief, Bowling will also be a presiding judge on election day at the

Community Center. As the presiding judge, Defendant Bowling is “in charge of and responsible


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for the management and conduct of the election at the polling place of the election precinct that

the judge serves.” Tex. Elec. Code § 32.071. The presiding judge “designate[s] the working hours

of and assign[s] the duties to be performed by the election clerks serving under the judge.” Id. §

32.031. The presiding judge is also charged with “preserv[ing] order and prevent[ing] breaches of

the peace and violations of th[e] code in the polling place.” Id. § 32.075. Defendant Bowling is

sued in her official capacity only.

       19.     Defendant LAURIE LEISTER is the county clerk of Jefferson County. A county

clerk for the general election for state and county officers “may remove, replace, or reassign an

election clerk who causes a disruption in the polling location or willfully disobeys the provisions

of this code” following “an oral warning to the election clerk and with the concurrence of the

county chair of the same political party with which the election clerk is affiliated or aligned.” Tex.

Elec. Code § 32.034(f). She is sued in her official capacity only.

                                 JURISDICTION AND VENUE

       20.     This action is brought under 42 U.S.C. § 1983 and the Fourteenth and Fifteenth

Amendments to the United States Constitution.

       21.     The Court has subject matter jurisdiction of this action under 28 U.S.C. § 1331, as

this case arises under the laws of the United States, and under 28 U.S.C. § 1343(a)(4), as this case

seeks equitable and other relief pursuant to an Act of Congress providing for the protection of the

right to vote, namely 52 U.S.C. § 10307(b).

       22.     This Court has jurisdiction to grant both declaratory and injunctive relief under 28

U.S.C. §§ 2201 and 2202.

       23.     This Court has personal jurisdiction over Defendants who are sued only in their

official capacities as officials serving in the State of Texas. Defendants are appointed officials



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charged with the conduct of elections in Jefferson County, including in the City of Beaumont. The

violations complained of arise from Defendants’ actions in their official capacity.

         24.     Venue is proper in the Eastern District of Texas pursuant to 28 U.S.C. § 1391(b)

because a substantial part of the events or omissions giving rise to the claim occurred and will

occur in this judicial district. Plaintiffs are located in this judicial district.

                                        STATEMENT OF FACTS

    I.         Background

         25.     According to the 2020 Census, Jefferson County has a population of 256,526,

34.4% Black and 58.6% White. The City of Beaumont is located in the northeast corner of the

County. Its population according to the 2020 Census is 114,586, 45% Black and 43.5% White.

The North End of Beaumont, where the Community Center is located, is a neighborhood of several

thousand people. The North End is a predominantly Black neighborhood.

         26.     The John Paul Davis Community Center sits in the heart of the North End of

Beaumont, a historically and predominantly Black neighborhood. Because of its central location,

its proximity to the Borden Chapel Missionary Baptist Church, and its communal atmosphere, the

Community Center is a preferred voting location for Black voters in the North End. The voting

population the Community Center typically serves is approximately ninety percent Black and ten

percent White.

         27.     Countywide elections in Jefferson County are historically very close. While the

county is politically split fairly evenly, votes from Beaumont, including the North End, tend to be

heavily Democratic. For example, in 2018, in the countywide elections for County Judge, County

Clerk, and County Treasurer—positions that will be on the ballot in 2022—the winning candidate

received less than 51 percent of the vote and the losing candidate received more than 49 percent



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of the vote. Citywide elections are often similarly tight in Beaumont. In 2021, for example, the

Beaumont mayor’s race was decided by just over 600 votes out of more than 16,700 cast.

         28.      This election cycle brought several significant changes to Jefferson County’s voting

setup.

               a. First, Jefferson County acquired new voting machines that are being used for the

                  first time in this election. These new voting machines make voting in Jefferson

                  County a two-step process: a voter must select the candidates they want to vote for

                  on a touch-screen voting machine and then collect a printed ballot showing their

                  selections from that machine; then, the voter must take the print-out of their filled-

                  out ballot and feed it into a scanning machine in a different area of the polling place.

                  If the voter does not scan their completed ballot into the machine, their vote does

                  not count. Since voters are not yet familiar with the County’s new equipment, they

                  are more reliant on poll workers’ guidance than in previous cycles.

               b. Second, this cycle marks the first general election when several new statewide

                  election policies are in effect, following the passage of an omnibus elections bill in

                  September 2021 known as “Senate Bill 1” or “SB 1.” SB 1’s provisions changed

                  nearly every step of the voting process in Texas from voter registration to casting a

                  mail-in ballot, but it made especially substantial changes to the powers allocated to

                  election judges and poll watchers. Pursuant to these provisions, poll watchers now

                  have the right to move freely around a polling place and to be near enough to see

                  and hear the election activity they’re trying to observe within the polling place.

                  Moreover, poll watchers may not be denied free movement where election activity

                  is occurring within a polling place. And election judges are subject to expanded



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                criminal offenses if they take action to obstruct the view of a poll watcher or

                distance the poll watcher from an activity or procedure within the polling place.

                These changes have brought attention to the role of poll watchers, bringing newly

                trained poll watchers into polling places and more poll watchers overall.

             c. Third, the Jefferson County Commission appointed a new County Clerk, Defendant

                Laurie Leister, in December 2021. Defendant Leister's appointment came after

                longtime County Clerk Carolyn Guidry decided to resign after 16 years in the post,

                and her interim successor Theresa Goodness resigned shortly thereafter after 34

                years in the County Clerk's office. Leister was appointed to serve as a temporary

                County Clerk on an interim basis. The County Commission’s vote to appoint

                Leister was initially delayed after Leister told the Commission that she was

                unfamiliar with changes to the election law. Leister is not experienced in election

                administration.

       29.      This year, early voting at the Community Center began on October 24 and ended

on November 4. The Community Center is a single building surrounded by a parking lot and some

grassy areas. The polling place inside the Community Center is set up as follows:

             a. The voter enters through the front door and turns right. Three tables are pushed

                together to form one check-in table that is set up to the right of the main entrance.

                There have been typically six election workers seated at the long check-in table,

                including (i) a Republican presiding judge and two poll workers from the presiding

                judge’s party, and (ii) an alternate presiding judge and two poll workers from the

                alternate presiding judge’s party. At the Community Center, Defendant Bowling

                serves as the presiding judge. As such, she is responsible for managing the full



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          conduct of elections at the Community Center. In the event that the regularly

          appointed presiding judge cannot serve, the alternate presiding judge serves as

          presiding judge for the election. Tex. Elec. Code § 32.001(b).

       b. There are two poll books or poll pads at the check-in table. Two election workers

          sit with a poll book at the check-in desk during voting hours. Each election worker

          checks voters in one at a time. There is typically one Republican election worker

          and one Democratic election worker at the table checking voters in. During the

          check-in process, the voter is asked to produce identification, confirm their

          residence has not changed, sign in, and then take their ballot to a voting machine.

       c. The voting machines in the Community Center are set up about three to four feet

          away from the check-in desk. After being checked in, the voter usually walks away

          from the check-in desk to the back of the room to get to the voting machines. There

          are four voting pods, each containing a machine. None of the pods have curtains,

          instead they have small blinders on either side of each machine.

       d. Once a voter marks their entries using the touch screen on the voting machine, the

          machine prints out a marked ballot. The voter then takes the ballot and walks to the

          ballot scanner located on the opposite side of the room, to the left of the main

          entrance. The voter feeds the ballot into the scanning machine in order to cast his

          or her vote. Then the voter exits out the front door.

       e. Between two and four poll watchers are typically at this location at any given time,

          one to two from each party. During early voting, the poll watchers typically stood

          between two and four feet behind the election workers sitting at the check-in desk.

          Sometimes the poll watchers sat by the ballot scanner on the opposite side of the



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                  room. Other times, the poll watchers followed a voter or followed a voter and the

                  voter’s assistant as they walked over to the voting machines, voted, and then walked

                  over to the ballot scanner.

         30.      The Community Center’s presiding election judge, Defendant Bowling, moved

around the polling place during her shifts. Sometimes Defendant Bowling sat next to the ballot

scanner, but mostly she stood directly behind and above the election workers who were seated

while checking voters in. She hovered over the Black election workers as they checked in voters,

typically just two feet or so behind them. Defendant Bowling was at the polling place nearly every

day of the early voting period. As presiding judge, she is likely to be there from the start of voting

hours to the end of voting hours on Election Day.

         31.      Defendant Bowling and most, if not all, of the other Republican-appointed poll

workers are White. The alternate presiding judge at the location is Black and most, if not all, of

the Democratic-appointed poll workers are Black.

   II.         Intimidating Atmosphere

         32.      The atmosphere at the Community Center polling place has been hostile and

intimidating for Plaintiff Daye and other Black voters for the following reasons:

         a. Requiring Black Voters to Loudly Recite Their Address In Front of Others After
            Voters Already Properly Checked In

         33.      “Before a voter may be accepted for voting, an election officer shall ask the voter

if the voter’s residence address on the precinct list of registered voters is current and whether the

voter has changed residence within the county.” Tex. Elec. Code § Section 63.0011(a).

         34.      After determining that the voter is registered, the voter must be asked if the

residence address on the list of registered voters has changed. See Elections Div. of the Office of

the Tex. Sec’y of State, The Qualifying Voters on Election Day 2022 Handbook for Election

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Judges and Clerks, at 22. The address on an acceptable form of photo ID or, if applicable, a

supporting form of identification with a Reasonable Impediment Declaration, should not be

compared to the address on the list of registered voters, as these two addresses do not have to

match. Id.

       35.     Throughout early voting, Defendant Bowling stood behind the election clerks

responsible for checking voters in. She frequently asked to look at Black voters’ identification,

even though these voters had already been verified and checked in to vote in accordance with the

guidelines above. Defendant Bowling then often asked the Black voters in question to recite, out

loud and within earshot of numerous others within the polling place (including poll workers, other

election workers, and other votes), their addresses. Defendant Bowling did not ask White voters

who had been checked in by an election worker to show her their identification and recite their

addresses.

       36.     The other election worker who sat at the check-in desk also asked Black voters to

recite, out loud and within earshot of numerous others, their addresses even after these voters had

been properly checked in. Plaintiff Daye witnessed this when a White Republican election worker

asked an elderly Black voter, who had already been checked in by a Black election worker, to take

out her identification again and recite her address out loud. After witnessing this incident, Plaintiff

Daye decided not to vote at the Community Center and left altogether.

       37.     Defendant Leister was informed and was aware that Defendant Bowling and other

election workers were asking Black voters to recite their addresses out loud. Defendant Leister did

not take action to remove Defendant Bowling. Defendant Leister, as the county election clerk, did

not direct Defendant Bowling to instruct the election workers not to engage in this type of conduct.

       b. Following Black Voters Around in the Polling Place



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       38.     On one occasion, Defendant Bowling followed a Black voter and a Black voter

assistant to a voting machine. Defendant Bowling stood two feet away from the voter and the voter

assistant and hovered over their shoulders as if looking to see who he would cast his ballot for.

Only when he was repeatedly told by the voter assistant that she could not watch the voter make

his selections did Ms. Bowling move away from the voter and his assistant.

       39.     At least two White poll watchers mimicked this behavior, following Black voters

around the Community Center and sometimes standing as close as two to three feet behind voters,

including while voters were at the voting machines marking their ballots.

       40.     Throughout the early voting period, White voters came and voted at the Community

Center, but at no point were they treated this way. No White voters were followed around the

polling place, hovered over while they made their selections on the voting machine, or crowded as

they fed their ballots into the scanning machine.

       41.     Defendant Leister was informed and was aware that Defendant Bowling and other

election workers were closely following Black voters around the polling place. Defendant Leister

did not take action to remove Defendant Bowling. Defendant Leister did not direct Defendant

Bowling to instruct the election workers not to engage in this type of conduct.

       c. Showing White Voters How to Scan Their Voted Ballots But Not Black Voters

       42.     Most of the time during early voting, at least one election worker under Defendant

Bowling’s supervision or poll watcher from Defendant Bowling’s political party sat or stood next

to the ballot scanner. Many voters needed help with the ballot scanner because it was a new

machine that Jefferson County voters had never used before.

       43.     When a White voter needed help scanning a voted ballot into the ballot scanner,

Defendant Bowling, a White election worker, or a White poll watcher routinely helped the White



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voter.

         44.    When a Black voter needed help scanning a voted ballot into the ballot scanner,

Defendant Bowling, a White election worker, or a White poll watcher rarely provided this type of

assistance. Black voters typically had to receive assistance from one of the Black election workers

if they were around or a voter assistant if the Black voter was eligible to receive assistance and

had brought one with them.

         45.    Sometimes Black voters did not receive the help they needed to scan their ballots

in because the other Black election workers were busy checking in and helping other voters.

         46.    At no point did Defendant Leister take action to stop Defendant Bowling or any of

the other election workers in the polling place for the differential treatment they provided to White

voters and Black voters in assisting with the new ballot scanning machine.

                                          CAUSES OF ACTION

                                                COUNT I
                                           52 U.S.C. 10307(b)
                           Violation of Section 11(b) of the Voting Rights Act
                                          Voting Intimidation

         47.    Plaintiffs hereby incorporate all other paragraphs of this Complaint as if set forth

fully herein.

         48.    Section 11(b) of the Voting Rights Act creates a private right of action on behalf of

one who is intimidated, threatened, or coerced while attempting to exercise his or her right to vote.

Section 11(b) of the Voting Rights Act specifically provides as follows:

                No person, whether acting under color of law or otherwise, shall intimidate,
                threaten, or coerce, or attempt to intimidate, threaten, or coerce any person
                for voting or attempting to vote, or intimidate, threaten, or coerce, or attempt
                to intimidate, threaten, or coerce any person for urging or aiding any person
                to vote or attempt to vote, or intimidate, threaten, or coerce any person for
                exercising any powers or duties under section 10302(a), 10305, 10306, or
                10308(e) of this title or section 1973d or 1973g of Title 42.

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U.S.C. § 10307(b).

       49.     Defendants have engaged in a pattern and practice of intimidating voters at the

Community Center by asking voters to recite their addresses out loud once voters have already

been checked in, by closely following voters and their assistants around the polling place, and by

neglecting to assist Black voters in feeding their ballots into the ballot scanning machine.

       50.     This conduct will intimidate voters who plan to vote at the Community Center on

Election Day. Unless and until enjoined by this Court, Defendants will continue to violate Section

11(b) of the Voting Rights Act, thereby preventing eligible voters—including Plaintiffs—from

exercising their constitutional right to vote, causing them irreparable harm.

       51.     Plaintiffs have no other adequate remedy at law.

                                            COUNT II
                                         42 U.S.C. § 1983
                     Violation of the Fourteenth and Fifteenth Amendments
                                      Discriminatory Intent

       52.     The Fifteenth Amendment prohibits any state or political subdivision from denying

a person his or her right to vote on account of race, color, or previous condition of servitude. U.S.

Const. amend. XV.

       53.     The Fourteenth Amendment prohibits any governmental entity from denying a

person within its jurisdiction equal protection of the laws. U.S. Const. amend. XIV, § 1. When a

governmental entity discriminates based on race, strict scrutiny is triggered, and the entity must

demonstrate both that the challenged practice or policy serves a compelling state interest and that

it is necessary or narrowly tailored to serve that interest. Any governmental action classifying

citizens on the basis of race is by its “very nature odious to a free people whose institutions are

founded upon the doctrine of equality.” Shaw v. Reno, 509 U.S. 630, 643 (1993)



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(quoting Hirabayashi v. United States, 320 U.S. 81, 100 (1943)).

          54.      The facts clearly demonstrate that Defendant Ms. Bowling and other white election

workers serving at the Community Center treated Black voters, and Black voters only, in a manner

that was different from their treatment of White voters.

          55.      These practices do not serve a compelling interest and are not necessary or narrowly

tailored to serve any compelling interest.

          56.      Unless and until enjoined by this Court, Defendants will continue to violate operate

the Community Center with racially discriminatory intent, thereby preventing Black voters like

Plaintiffs from receiving equal treatment while trying to exercise their constitutional right to vote.

This will cause Plaintiffs and others similarly situated irreparable harm.

Plaintiffs have no other adequate remedy at law.

                                         PRAYER FOR RELIEF

WHEREFORE, Plaintiff(s) respectfully pray that this Court enter an order:

   I.           Declaring the actions of Defendant Bowling and election clerks supervised

                by Defendant Bowling in violation of Section 11(b) of the Voting Rights

                Act, 52 U.S.C. § 10307(b) for creating an intimidating atmosphere for

                voters in the polling place;

   II.          Declaring the actions, as described above, of Defendant Bowling and

                election clerks supervised by Defendant Bowling in violation of the

                Fourteenth and Fifteenth Amendments to the U.S. Constitution, which

                prohibit the targeting of a group based on their race;

   III.         Declaring the actions, as described above, of Defendant Leister in failing

                to remove Defendant Bowling and election clerks supervised by Defendant


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         Bowling from their posts after learning of their intimidating behavior in

         violation of the Fourteenth and Fifteenth Amendments to the U.S.

         Constitution which prohibit the targeting of a group based on their race;

   IV.   Directing Defendants to take such other measures as are necessary to

         ensure that Plaintiffs and similarly situated qualified voters may engage in

         the lawful exercise of the franchise free from intimidation, threats, or

         coercion moving forward at any polling place in Jefferson County moving

         forward;

   V.    Temporarily, preliminarily, and permanently enjoining Defendants from

         engaging in conduct intimidating Plaintiffs and other voters at any polling

         place in Jefferson County moving forward;

   VI.   Plaintiffs further request that the Court grant such other and further relief

         as may be just, including awarding Plaintiffs’ costs and attorneys’ fees

         pursuant to 42 U.S.C. § 1988.


DATED this 7th day of November 2022.

                                                   /s/ Jeff Homrig
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